Case 1:24-cv-04664-HB   Document 55   Filed 12/12/24   Page 1 of 9 PageID: 1167



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________
Case 1:24-cv-04664-HB   Document 55    Filed 12/12/24   Page 2 of 9 PageID: 1168



 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




                                      -2-
Case 1:24-cv-04664-HB   Document 55    Filed 12/12/24   Page 3 of 9 PageID: 1169



 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4176
 INNOVIS DATA SOLUTIONS INC., :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
________________________________________________________________




                                      -3-
Case 1:24-cv-04664-HB   Document 55       Filed 12/12/24     Page 4 of 9 PageID: 1170




ATLAS DATA PRIVACY                    :                CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
EQUIMINE, INC., et al.                :                    NO. 24-4261
                                      :

ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
THOMSON REUTERS CORPORATION,          :                    NO. 24-4269
et al.                                :


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
MELISSA DATA CORP., et al.            :                    NO. 24-4292


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
RESTORATION OF AMERICA,               :                    NO. 24-4324
et al.                                :


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
i360, LLC, et al.                     :                    NO. 24-4345




                                      -4-
Case 1:24-cv-04664-HB   Document 55       Filed 12/12/24     Page 5 of 9 PageID: 1171




ATLAS DATA PRIVACY                    :                CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
GOHUNT, LLC, et al.                   :                    NO. 24-4380


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
ACCUZIP, INC., et al.                 :                    NO. 24-4383


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
SYNAPTIX TECHNOLOGY, LLC,             :                    NO. 24-4385
et al.                                :


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
JOY ROCKWELL ENTERPRISES,             :                    NO. 24-4389
INC., et al.                          :


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
FORTNOFF FINANCIAL, LLC,              :                    NO. 24-4390
et al.                                :




                                      -5-
Case 1:24-cv-04664-HB   Document 55       Filed 12/12/24     Page 6 of 9 PageID: 1172




ATLAS DATA PRIVACY                    :                CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
MYHERITAGE, LTD., et al.              :                    NO. 24-4392


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
E-MERGES.COM, INC.                    :                    NO. 24-4434


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
NUWBER, INC., et al.                  :                    NO. 24-4609


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
ROCKETREACH LLC, et al.               :                    NO. 24-4664


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
BELLES CAMP COMMUNICATIONS,           :                    NO. 24-4949
INC., et al.                          :




                                      -6-
Case 1:24-cv-04664-HB   Document 55       Filed 12/12/24     Page 7 of 9 PageID: 1173




ATLAS DATA PRIVACY                    :                CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
PROPERTYRADAR, INC., et al.           :                    NO. 24-5600


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
THE ALESCO GROUP, L.L.C.              :                    NO. 24-5656


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
SEARCHBUG, INC.                       :                    NO. 24-5658


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
AMERILIST, INC., et al.               :                    NO. 24-5775


ATLAS DATA PRIVACY                    :                    CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
US DATA CORPORATION, et al.           :                    NO. 24-7324




                                      -7-
Case 1:24-cv-04664-HB   Document 55    Filed 12/12/24    Page 8 of 9 PageID: 1174




 ATLAS DATA PRIVACY                   :                 CIVIL ACTION
 CORPORATION, et al.                  :
                                      :
          v.                          :
                                      :
 SMARTY, LLC, et al.                  :                 NO. 24-8075


 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :
 COMPACT INFORMATION SYSTEMS, :             NO. 24-8451
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY                   :                 CIVIL ACTION
 CORPORATION, et al.                  :
                                      :
          v.                          :
                                      :
 DARKOWL, LLC, et al.                 :                 NO. 24-10600



                                  ORDER

           AND NOW, this 12th day of December, 2024, after a

status conference with counsel, it is hereby ORDERED that:

           (1)   the above actions are stayed pending further

order of the court;

           (2)   counsel for defendants shall meet and confer on

or before December 31, 2024 to discuss additional possible

motions, including motions challenging the court's personal




                                      -8-
Case 1:24-cv-04664-HB   Document 55    Filed 12/12/24   Page 9 of 9 PageID: 1175



jurisdiction over defendants, motions to compel arbitration, and

motions to dismiss for failure to state a claim;

           (3)   counsel for defendants shall thereafter meet and

confer with counsel for plaintiffs on these matters on or before

January 8, 2025; and

           (4)   the court will hold a status conference as to the

above actions on January 14, 2025 at 10:00 AM in Courtroom No. 1

in the United States Courthouse in Camden, New Jersey.



                                            BY THE COURT:



                                            /s/ Harvey Bartle III
                                                                           J.




                                      -9-
